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                                                                                     DEC     1 2018
                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                NEWPORT NEWS DIVISION



 GLOBALONE MANAGEMENT GROUP
 LIMITED,

           Plaintiff,

 V.                                                                 CIVIL NO.4:18cv59



 TEMPUS APPLIED SOLUTIONS,LLC
 and TEMPUS APPLIED SOLUTIONS
 HOLDINGS,INC.,

           Defendants.



                                     OPINION AND ORDER


           This matter comes before the Court on five motions filed by defendants Tempus Applied

 Solutions, LLC and Tempus Applied Solutions Holdings, Inc., including motions to compel

 arbitration and to stay proceedings pursuant to Sections 3 and 4 of the Federal Arbitration Act, 9

 U.S.C. § 1, et seq.. ECF Nos. 31 and 32, and three motions to partially dismiss plaintiffs

 complaint, ECF Nos. 34-36. For the reasons set forth below, the Court GRANTS Defendants'

 motions to compel arbitration and stay proceedings, DISMISSES Defendants' motions to dismiss

 WITHOUT PREJUDICE,and STAYS this action consistent with the directives of this Order.

      I.      PROCEDURAL HISTORY

           On May 23, 2018, GlobalOne Management Group Limited ("GlobalOne" or "Plaintiff)

 filed a complaint against Tempus Applied Solutions, LLC ("Tempus") and Tempus Applied

 Solutions Holdings, Inc.("TASH")(collectively, "Defendants") seeking a declaratory judgment,

 injunctive relief, and damages in relation to a certain aircraft management agreement between the

 parties. ECF No. 1. Initially, Defendants failed to appear or timely respond to GlobalOne's
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 complaint, and the Clerk entered default against Defendants at GlobalOne's request. However,on

 September 7,2018, Defendants filed an unopposed Motion to Set Aside Default, which the Court

 granted on September II, 2018. ECFNos.25, 30.

          On September 17, 2018, Defendants filed the instant motions to compel arbitration

("Motion to Compel") and to stay all proceedings pending such arbitration ("Motion to Stay")

 claiming that the parties entered a legally binding agreement to arbitrate their dispute before the

 International Chamber of Commerce in Paris, France. ECF Nos. 31 and 32;^Memorandum in

 Support ("Mem."), ECF No. 33. In the alternative, the Defendants also filed three motions to

 dismiss various portions of GlobalOne's complaint.' ECF Nos. 34-36; s^ Mem.,ECF No. 37.

          On October 1, 2018, GlobalOne filed a response in opposition to Defendants' Motion to

 Compel and Motion to Stay ("Resp."), ECF No. 39, and a separate response in opposition to

 Defendants' three motions to dismiss, ECF No. 40. On October 8, 2018, GlobalOne filed a

 combined reply brief. ECF No.42. On November 20,2018,the parties appeared for oral argument

 on Defendants' five pending motions, and the Court took the matter under advisement. Such

 motions are now before the Court.


    11.      FACTUAL BACKGROUND

          GlobalOne is a corporation organized under the laws ofthe British Virgin Islands with its

 principal place of business in Cyprus. Complaint ("Compl."), ECF No. 1 H 29. At all times

 relevant to the complaint, GlobalOne operated a 2012 Bombardier Global 6000 with a Rolls-Royce

 BR710A2-20 engine (hereinafter, the "Aircraft") for business and personal use. Id.               3, 36.



'Specifically, Defendants filed (1) a motion to dismiss Count 111 (conversion) and Count IV (detinue) of
the complaint for lack ofjurisdiction pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure,
ECF No. 34;(2) a motion to dismiss all claims against TASH for insufficient service of process pursuant
to Rule 12(b)(5)ofthe Federal Rules of Civil Procedure,ECF No. 35; and(3)a motion to dismiss all claims
against TASH and Count II (declaratory judgment) against both Defendants for failure to state a claim for
which reliefcan be granted pursuant to Rule 12(b)(6)ofthe Federal Rules of Civil Procedure, ECF No. 36.
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 TASH is a Delaware corporation with its principal place of business in Williamsburg, Virginia.

 Id. H 30. TASH is the sole member of Tempus, which is a limited liability company operating in

 Williamsburg, Virginia. Id. H 31.

                A. The 2017 Aircraft Management Agreement

         On March 1, 2017, GlobalOne and Tempus entered into an Aircraft Management

 Agreement ("AMA") whereby Tempus agreed to provide management, operation, and

 maintenance services for GlobalOne's Aircraft in exchange for a monthly fee of$110,000.00.

 Ex. 1 to the Compl., ECF No. 1-1 (hereinafter "AMA"), § 9.1. Upon entering this agreement,

 GlobalOne paid Tempus an "Operating Deposit" in the amount of$750,000.00.^ Id. § 3.

         The AMA requires each party to cover certain costs in connection with maintaining and

 operating the Aircraft during the term of the agreement. For example. Section 9.1 of the AMA

 requires Tempus to cover the cost of training and compensating the pilots and crew (§9.1.1), the

 annual cost of insurance (§ 9.1.1.2), and the annual cost of maintaining flight manuals and

 subscriptions to tracking programs and navigation databases that are required under the agreement

(§ 9.1.1.3). GlobalOne, on the other hand, is required to reimburse Tempus for the cost of fuel,

 consumables, and certain incidentals, including landing and parking fees, crew travel expenses,

 airway and navigation fees, and customs fees at fixed rates (§ 9.2) as well as other services and

 benefits at actual cost as set forth in the agreement(§§ 9.3-9.4).

         The term ofthe AMA is two years(§ 2.1), but either party may terminate the AMA for any

 reason upon sixty days written notice to the other party (§ 2.3). In addition, GlobalOne has the

 unilateral right to terminate the AMA immediately for cause upon the occurrence of one of eight



 ^ As set forth in Section 3 of the AMA,Tempus received these funds from its affiliate, Tempus Jets, Inc.,
 which funds were payable to GlobalOne by Tempus Jets, Inc. pursuant to a prior aircraft management
 agreement dated June 14,2012. Id. § 3.
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 enumerated conditions (§ 2.5). Upon expiration or earlier termination of the AMA, Tempus is

 required to immediately return the Aircraft with all necessary documentation, including "FAA

 required documentation, certificate of airworthiness. Aircraft registration and all such documents

 that rightfully belong with the Aircraft and GlobalOne"(collectively hereinafter referred to as the

 Aircraft "Records") in accordance with Section 2.6 of the AMA. Additionally, Tempus has six

 weeks after the termination or expiration to submit a summary of outstanding costs and charges to

 GlobalOne and to "set-off such charges against the Operating Deposit in accordance with Section

 2.7. Tempus must then return the remaining amount ofthe Operating Deposit to GlobalOne within

 one day ofsuch offset(§ 2.7).

               B. Termination OF THE AMA

        The complaint alleges that on November 14, 2017, GlobalOne notified Tempus that

 GlobalOne desired to terminate the AMA for business reasons. Compl. ^ 62. A copy of

 GlobalOne's notification email is attached to the complaint as Exhibit 3. Id.; s^ ECF No. 1-3.

 With its email, GlobalOne sent a draft termination and settlement agreement to Tempus that

 purported to resolve outstanding matters between the parties in lieu of formally terminating the

 AMA pursuant to Section 2.3 ofthe agreement. Id ^63. In its email, GlobalOne directed Tempus

 either to accept or to counter the proposed termination agreement by November 20, 2017. Ex. 3

 to Compl., ECF No. 1-3. According to the complaint, Tempus acknowledged receipt of

 GlobalOne's email, but it never responded to GlobalOne's settlement offer. Compl.          64-65.

        Rather, on November 22, 2017, Tempus sent a letter to GlobalOne piuporting to terminate

 the AMA. Id T| 67. A copy of this letter is attached to the complaint as Exhibit 4. Id; see ECF

 No. 1-4. In such letter, Tempus claims that(1)GlobalOne is in "repudiatory breach" of the AMA

 for its alleged "ongoing and repeated failure" to pay its outstanding balsinces, totaling $225,565.33,

 on eleven different invoices issued to GlobalOne pursuant to the AMA and that (2) Tempus
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 therefore "terminates the AMA at common law." Id at 2.

        The complaint further alleges that on November 29, 2017, Tempus then surrendered the

 Aircraft at Vnukovo Airport in Moscow without GlobalOne's knowledge or instruction. Id. 1| 68.

 At the time of such surrender, Tempus allegedly had not retumed the Aircraft Records or

 transferred the Aircraft's subscriptions and accounts to GlobalOne. Id Furthermore, at the time

 this action was filed in May, 2018, Tempus was allegedly still in possession of certain Aircraft

 Records and subscriptions despite GlobalOne's repeated requests for same. Id ^ni 68-71, 74.

 However, during the November 20, 2018 hearing before this Court, counsel for GlobalOne

 conceded that all Aircraft Records and subscriptions had been retumed to GlobalOne as ofthe date

 of such hearing.

               C. Tempus's Alleged Risk of Insolvency or Bankruptcy

        The complaint also makes certain allegations with respect to Tempus's financial status.

 Specifically, it alleges that "there is a significant risk" that GlobalOne will not be able to recover

 any funds or monetary relief from Tempus because Tempus is likely to become insolvent or

 "judgment proof in the near future. Compl. ^ 85. In support of this claim, GlobalOne alleges,

 for example, that a Prospectus filed with the United States Securities and Exchange Commission

("SEC")on Febmary 12,2018,disclosed that TASK has suffered "significant operating losses and

 negative cash flows from [its] operations" and that it has not been and may never be consistently

 profitable. Id     86-87 (quoting Prospectus, Ex. 2 to Compl., ECF No. 1-2, at 19). GlobalOne

 further alleges that TASH's Form 10-Q filed with the SEC on November 28, 2017 (hereinafter

 "10-Q") states that TASH's "recurring losses," "recurring negative cash flows from operations,"

 and its current capital deficit raise "substantial doubt about the Company's ability to continue as a

 going concem." Id H 88 (quoting 10-Q, Ex. 9 to Compl., ECF No. 1-9, at 10). Lastly, the

 complaint alleges that an affiliate of TASH, whose principal is also the CEO of Tempus, is
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 involved in separate litigation in this Court, and the progress of such litigation appears to indicate

 that this Tempus affiliate also has serious financial problems. Id fl 95-97.

                 D. Summary of GlobalOne's Claims

        Relying on the foregoing factual allegations, the complaint asserts the following claims.

            1.      Count I; Breach of Contract against Tempus

        Count I alleges that Tempus breached the AMA in five ways: (i) terminating the AMA

 without providing sixty days' notice; (ii) failing to return certain Aircraft Records to GlobalOne;

 (iii) failing to transfer all subscriptions and accounts to GlobalOne; (iv) failing to pay certain

 EUROCONTROL fees assessed against the Aircraft; and (v) failing to return the $750,000.00

 Operating Deposit to GlobalOne. Compl. 100. In addition to judgment in favor of GlobalOne

 on this claim. Count I also seeks an injunction "ordering Tempus to immediately return the

 Logbooks and other Aircraft Records to GlobalOne" and "to immediately transfer all subscriptions

 and accounts registered to the Aircraft to GlobalOne." Id. ^ 103.

            2.      Count II; Declaratory Judgment against Tempus

        Count II seeks a declaration that "Tempus's knowing and unlawful retention of the

 Logbooks and certain Aircraft Records and refusal to return the Deposit to GlobalOne constitutes

 a breach of the AMA." Id H 107. It further requests an injunction "ordering Tempus to

 immediately return the remaining Aircraft Records to GlobalOne" and "prohibiting Tempus and

 any of its affiliates, parent companies or subsidiaries (including [TASH])from selling, pledging,

 transferring or otherwise disposing of GlobalOne's $750,000.00 Deposit." Id H 109.

            3.      Count III; Conversion against Tempus and TASH

        Count III alleges that Tempus and TASH are liable to GlobalOne for their wrongful

 possession and/or control of certain Aircraft Records. Id ^ 114. This count seeks punitive

 damages and an injunction ordering Defendants to immediately return any remaining Aircraft

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 Records to GlobalOne. Id.     115.

            4.      Count IV: Detinue against Tempus and TASH

        Count IV is a detinue claim to recover Aircraft Records from Tempus and TASH. Id

 H 123. Like Count III, Count IV seeks an injunction ordering Defendants to immediately retum

 any remaining Aircraft Records to GlobalOne. Id. H 124.

            5.      Count V: Piercing of the Corporate Veil against TASH

        Lastly, Count V seeks to pierce Tempus's corporate veil such that TASH is held jointly

 and severally liable for any judgment entered against Tempus in this case. Id. ^ 133. In support,

 this count alleges, inter alia, that Tempus has been undercapitalized, that TASH has diverted assets

 and corporate opportunities from Tempus for the benefit of TASH and its affiliates, and that

 Tempus has functioned as an alter ego ofTASH such that the separate corporate existence between

 Tempus and TASH is a "fiction." Id            126-33. Count V seeks a judgment against TASH

 awarding GlobalOne "at least $1,066,690.00." Id. ^ 133.

    III.    APPLICABLE LAW

        In the instant Motions to Compel and to Stay, Defendants argue that this entire dispute is

 subject to a mandatory arbitration agreement contained in the AMA, and that the Federal

 Arbitration Act("FAA"), 9 U.S.C. § 1, et seq.. requires the Court to enforce such agreement as

 written and compel GlobalOne to arbitrate. Chapter 2 of the FAA states:

        A written provision in any . . . contract evidencing a transaction involving
        commerce to settle by arbitration a controversy thereafter arising out of such
        contract or transaction ... shall be valid, irrevocable, and enforceable, save upon
        such grounds as exist at law or in equity for the revocation of any contract.

 9 U.S.C. § 2. Chapter 4 the provides that, in the event of an alleged failure, neglect, or refusal to

 arbitrate, the court must compel arbitration if the Court is satisfied that "the making of the

 agreement for arbitration ... is not in issue." Id. $ 4.
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        Generally, there is a two-step inquiry when deciding whether to compel arbitration under

 the FAA:the court must(1)determine whether a binding arbitration agreement exists between the

 parties and then (2)determine whether the dispute falls within the parameters of the arbitration

 agreement. Hightower v. GMRI. Inc.. 272 F.3d 239, 242 (4th Cir. 2001). In the event a court

 compels arbitration under the FAA,the court, on application of a party to the dispute, shall "stay

 the trial of the action until such arbitration has been had in accordance with the terms of the


 agreement." Id. § 3. The Supreme Court has been clear that the FAA established a strong federal

 policy favoring arbitration such that "any doubts conceming the scope of arbitrable issues should

 be resolved in favor of arbitration." Moses H. Cone MemT Hosp. v. Mercurv Constr. Corp.. 460

 U.S. 1,25(1983).

    IV.     DISCUSSION

        Here, GlobalOne does not dispute that GlobalOne and Tempus entered into a valid and

 enforceable arbitration agreement as provided in Section 13.12 ofthe AMA. Such provision states:

        Any dispute, controversy or claim arising out of or in connection with this
        agreement, including the interpretation, enforcement, validity, breach or
        termination thereof, shall, subject to the rights of any party to seek to obtain
        interlocutory reliefin any competentjurisdiction^ be solely and finally settled by
        arbitration in accordance with the rules on international arbitration of the
        Intemational Chamber of Commerce(ICC), Paris (France).

        The seat of the arbitration shall be in London, England. The number of arbitrators
        shall be one. The arbitral proceedings shall be conducted in English.

 AMA,Exhibit 1 to Compl., ECF No. 1-1, § 13.12(emphasis added). Rather, GlobalOne argues

 that Section 13.12 does not apply here because GlobalOne's claims either do not arise out of the

 AMA or they fall within the interlocutory-relief exception ofsuch provision.

        For the reasons below, the Court finds that it must compel arbitration of this dispute and

 stay proceedings pursuant to Sections 3 and 4 of the FAA.



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               A. GlobalOne and Tempus Agreed to Arbitrate Issues of Arbitrability
                   UNDER THE AMA.


        As a threshold matter, Defendants argue that the arbitrator, not this Court, must determine

 whether GlobalOne's claims fall within the AMA's mandatory arbitration provision. Mem.,ECF

 No. 33, at 10. As a general rule, arbitrability issues are "questions for the court to decide as a

 matter of contract interpretation." Virginia Carolina Tools. Inc. v. Int'l Tool Supply. Inc.. 984

 F.2d 113,117(4th Cir. 1993). "But parties may of course provide by contract for arbitration even

 of arbitrability issues," id (citation omitted), so long as such intent is "clearly and unmistakably"

 set forth in the agreement, Peabodv Holding Co.. LLC v. United Mine Workers of Am.. IntM

 Union. 665 F.3d 96, 102 (4th Cir. 2012) (internal quotations omitted)). "The 'clear and

 unmistakable' standard is exacting, and presence ofan expansive arbitration clause, without more,

 will not suffice." Id.


        Defendants argue that the AMA's arbitration provision clearly and unmistakably shows the

 contracting parties' intent to arbitrate issues of arbitrability because it expressly incorporates the

 rules of the ICC as the applicable rules governing the parties' arbitration proceedings.        AMA

 § 13.12. Article 6.3 of these rules (hereinafter "ICC Rule 6.3") provides:

        If any party against which a claim has been made does not submit an Answer,or if
        any party raises one or more pleas concerning the existence, validity or scope of
        the arbitration agreement or concerning whether all of the claims made in the
        arbitration may be determined together in a single arbitration, the arbitration shall
        proceed and any question of jurisdiction or of whether the claims may be
        determined together in that arbitration shall be decided directly by the arbitral
        tribunal^ unless the Secretary General refers the matter to the Court for its decision
        pursuant to Article 6(4).

ICC Rules of Arbitration, Article 6.3 (March 1, 2017), https://iccwbo.org/dispute-resolution-

 services/arbitration/rules-of-arbitration/#article_6 (emphasis added). According to Defendants,

 because ICC Rule 6.3 is expressly incorporated into Section 13.12 of the AMA, GlobalOne and

 Tempus clearly intended that the ICC, not this Court, determine threshold issues of arbitrability.
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 The Court agrees.

         Though the Fourth Circuit has not yet addressed this exact issue, several other circuits have

 held that incorporating ICC rules into an arbitration agreement constitutes "clear and unmistakable

 evidence" of the parties' intent to arbitrate arbitrability issues. See, e.g.. Apollo Comput.. Inc. v.

 Berg. 886 F.2d 469, 473 (1st Cir. 1989)("The [ICC rules] clearly and unmistakably allow the

 arbitrator to determine her own jurisdiction when, as here, there exists a prima facie agreement to

 arbitrate ..."); Shaw Grp. Inc. v. Triplefine Int'l Corp.. 322 F.3d 115, 122(2d Cir. 2003)(citing

 the First Circuit's decision in Apollo): Portland Gen. Elec. Co. v. Libertv Mut. Ins. Co.. 862 F.3d

 981, 985 (9th Cir. 2017), as amended (Aug. 28, 2017)("The language [of ICC Rule 6.3] makes

 clear that the arbitrators are vested with the authority to determine questions of arbitrability.").

         Moreover, recent precedent from the Fourth Circuit indicates that it is in accord with these

 sister circuits. Specifically, in Simplv Wireless. Inc. v. T-Mobile US.Inc.. 877 F.3d 522,528(4th

 Cir. 2017), the Fourth Circuit considered whether the express incorporation of a different set of

 arbitration rules, namely, the Judicial Arbitration and Mediation Services Comprehensive

 Arbitration Rules & Procedures("JAMS Rules"), constitutes clear and unmistakable evidence of

 the parties' intent to arbitrate arbitrability issues.^ It concluded that, "in the context of a

 commercial contract between sophisticated parties," it does. Id In so holding, the Simplv

 Wireless court cited to several similar rulings ofits sister circuits, including that ofthe First Circuit



 ^ Specifically, the court considered JAMS Rule 11(b), which states:

         Jurisdictional and arbitrability disputes, including disputes over the formation, existence,
         validity, interpretation or scope of the agreement under which Arbitration is sought, and
         who are proper Peirties to the Arbitration, shall be submitted to and ruled on by the
         Arbitrator. The Arbitrator has the authority to determine jurisdiction and arbitrability
         issues as a preliminary matter.

 JAMS Rules, Rule 11(b), at 14(July 1, 2014), https://www.jamsadr.com/filesAJploads/Documents/JAMS-
 Rules/JAMS_comprehensive_arbitration_ mles-2014.pdf(emphasis added).
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 in Apollo, which involved the incorporation ofICC rules, as noted above. Id

        For this reason, the Court is not persuaded by GlobalOne's reliance on Baver CropScience

 AG V. Dow AgroSciences LLC. 2012 WL 2878495, at *10 (E.D. Va. July 13, 2012), which was

 decided several years before Simplv Wireless and held that the invocation of the ICC rules in an

 arbitration clause was insufficient evidence of an agreement to arbitrate arbitrability. In Baver.

 the Court reasoned that it should apply the default rule of Virginia Carolina Tools because "the

 Fourth Circuit has not yet ruled on the question of whether an agreement's incorporation of a

 specific set ofarbitration rules means that the parties clearly intended to submit this threshold issue

 to arbitration." Id The Fourth Circuit later decided this precise issue in Simplv Wireless.

        Therefore, following the Fourth Circuit's guidance in Simplv Wireless, the Court FINDS

 that the express incorporation of the ICC Rules into the AMA's arbitration provision in this case

 is clear and unmistakable evidence that GlobalOne and Tempus agreed to arbitrate issues of

 arbitrability (hereinafter referred to as their "Delegation Agreement").

               B. Defendants' Demand for Arbitration in this Case is Not Frivolous
                   OR Illegitimate.

        The next issue before the Court is whether it should enforce this Delegation Agreement

 such that all disputed claims of arbitrability in this case are referred to arbitration. As the Fourth

 Circuit explained in Simplv Wireless, enforcing delegation agreements is not automatic. 877 F.3d

 at 528-29. Consistent with the principles set forth in Rule 11(b) of the Federal Rules of Civil

 Procedure, claims of arbitrability that are "frivolous or illegitimate" need not, and should not, be

 referred to arbitration notwithstanding the existence of a valid delegation agreement. Id at 529.

 Therefore, the Court must determine whether Defendants' assertion that the entirety ofthe parties'

 dispute is subject to the AMA's arbitration agreement is frivolous or illegitimate.




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        GlobalOne argues that its claims in this case are plainly not arbitrable,"as they fall outside

 of the express scope of the parties' arbitration agreement." 0pp., ECF No. 39, at 5. GlobalOne

 asserts three main grounds to support this claim: (1) that its tort claims against Tempus for

 conversion and detinue arise out ofcommon law, not the AMA;(2)that the arbitration agreement

 between GlobalOne and Tempus is not enforceable as to TASH,a non-signatory to the AMA;and

 (3) that all of GlobalOne's claims fall within the interlocutory relief exception of the AMA.

 However, as discussed below, none of these challenges succeeds in showing that Defendants'

 arbitration demand in this case is frivolous or illegitimate.

            1.      GlobalOne's Tort Claims against Tempus are Arguably Related to the
                    AMA.

        GlobalOne's conversion and detinue claims (Counts III and IV, respectively) are based

 entirely on the Defendants' wrongful possession and/or control of certain Aircraft Records.

 Because such wrongful possession occurred after Tempus purported to terminate the AMA in

 November, 2017, GlobalOne argues that these torts do not "aris[e] out of or in connection with"

 the AMA and thus fall outside of the parties' arbitration agreement.       AMA § 13.12.

        As a threshold matter, GlobalOne admitted at the November 2018 hearing that Defendants

 have since returned all of GlobalOne's Aircraft Records and that GlobalOne's demand for these

 Records is now moot.        However, GlobalOne maintains that it is entitled to damages for

 Defendants' conversion of its assets.


        Regardless, the Court finds that GlobalOne's tort claims are sufficiently related to the

 AMA such that Tempus's demand to arbitrate these claims is not fnvolous. The complaint alleges

 that Tempus came into possession ofthe Aircraft Records because ofthe AMA and was thereafter

 obligated to return such Records to GlobalOne pursuant to the terms ofthe AMA. Compl. Ij 118.

 Therefore, Tempus has at least an arguable basis to assert that these tort claims are subject to the

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 AMA's arbitration provision.

            2.      The Claims against TASH are Arguably within the Scope of Arbitrability.

        GlobalOne also challenges the arbitrability ofits claims against TASH given that TASH is

 not a party to the AMA and therefore not a party to the arbitration agreement. GlobalOne admits

 that referring claims against non-signatory parent companies to arbitration is appropriate in certain

 circumstances where the claims against the parent and its subsidiary "are based on the same facts

 and are inherently inseparable." 0pp.,EOF No. 39 at 12 fquoting J.J. Rvan & Sons. Inc. v. Rhone

 Poulenc Textitle. S.A.. 863 F.2d 315, 320-21 (4th Cir. 1988)). But GlobalOne insists that such

 circumstances do not exist in this case because GlobalOne seeks to pierce the corporate veil

 between TASH and Tempus based on "an entirely unrelated set offacts" from those underpinning

 its claims against Tempus. Id. at 13.

        It is true that GlobalOne alleges certain corporate characteristics and behaviors of the

 Defendants in support of its veil-piercing claim that are unrelated to the AMA. See generallv

 Comp. 1111 85-97. However, GlobalOne attempts to pierce the corporate veil between TASH and

 Tempus in this case precisely so that TASH becomes jointly liable for any money damages that

 may be awarded to GlobalOne for Tempus's alleged breach of the AMA. Compl. H 133. In other

 words, GlobalOne cannot recover against TASH without first prevailing on its claims against

 Tempus, all of which are arguably related to the AMA and thus arguably subject to its arbitration

 provision, as discussed herein. Furthermore, other courts have held that non-signatories to an

 arbitration agreement may nevertheless be bound to such agreement according to "ordinary

 principles of contract and agency," including veil-piercing. See, e.g.. Smith/Enron Coeeneration

 Ltd. P'ship. Inc. v. Smith Coeeneration IntT. Inc.. 198 F.3d 88, 97 (2d Cir. 1999). Therefore,

 Defendants' request to arbitrate the claims against TASH is not frivolous or illegitimate in this

 case because such claims are arguably within the scope of the AMA's arbitration clause.
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             3.      GlobalOne Has Not Sought Interlocutory Relief in this Case.

         Finally, GlobalOne argues that all of its claims seek "immediate" injunctive relief and

 therefore fall within the exception carved out in the AMA's arbitration clause relating to efforts

 "to obtain interlocutory relief in any competent jurisdiction."           AMA § 13.12. For example,

 Count III (conversion) and Count IV (detinue) both seek the "immediate[] return" of Aircraft

 Records. Compl.        115, 124. Additionally, even though Count I alleges breach of the AMA by

 Tempus, it also seeks an injunction ordering the "immediate[] return" of Aircraft Records and

 other assets. Id H 103. Similarly, GlobalOne's request for a declaratoryjudgment in Count II also

 includes a request for an injunction (1)ordering the "immediate[] return of Aircraft Records" and

 (2) "prohibiting Tempus and any of its affiliates, parent companies or subsidiaries (including

 [TASH])from selling, pledging, transferring or otherwise disposing of GlobalOne's $750,000.00

 Deposit." Id H 109.

         However,as Defendants rightly point out, none ofthese requests for injunctive reliefin the

 complaint qualifies as "seek[ing] to obtain interlocutory relief as set forth in the AMA's

 arbitration clause. The common and ordinary meaning"* of the term "interlocutory relief is

 provisional or interim relief, such as a temporary restraining order or a preliminary injunction.

 See, e.g.. Interlocutorv. Black's Law Dictionary (9th ed. 2009) (defining "interlocutory" as

 "provisional; interim; temporary; not final[;]... not a final decision of the whole controversy");

 see also Tavlor v. Breese. 163 F. 678,684(4th Cir. 1908)(defining "interlocutory decree" as "one

 which is made pending the cause and before a final hearing on the merits"); Fort Sumter Tours.

 Inc. V. Andrus. 564 F.2d 1119, 1124 (4th Cir. 1977) (defining a preliminary injunction as

 "interlocutory injunctive relief). It does not include permanent injunctions or other final


 ^ Absent a special contractual definition, a term in a contract must be given its "usual,common and ordinary
 meaning." Nationwide Mut. Ins. Co. v. Overlook. LLC.785 F. Supp. 2d 502,518-19(E.D. Va. 2011).
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 resolutions on the merits of the case.


         GlobalOne does not dispute this definition. Instead, it claims that its request in the

 complaint for the "immediate[] retum" of its Records and other assets is sufficient to show that it

 seeks an interlocutory injunction from this Court.          0pp., ECF No. 39 at 11-12(citing Compl.

    103, 109, 115, 124). However, the complaint does not include any requests for the Court to

 grant such reliefon an immediate,provisional or emergency basis. Nor does the complaint attempt

 to establish the necessary factual basis for a preliminary injunction,        that"[GlobalOne]is likely

 to succeed on the merits, that [it] is likely to suffer irreparable harm in the absence of preliminary

 relief, that the balance of equities tips in [its] favor, and that an injunction is in the public interest."

 Winter v. Nat. Res. Def. Council. Inc.. 555 U.S. 7,20(2008).

         The bottom line is that GlobalOne has not sought interlocutory relief in this case. From

 the time of filing the complaint in May, 2018, to the time Tempus purportedly returned all

 remaining Aircraft Records to GlobalOne in September,2018, GlobalOne never filed any motions

 for preliminary injunctive reliefin this Court even though it claimed to be suffering ongoing losses

 from Tempus's alleged retention of these Records. Furthermore, even though GlobalOne alleges

 in its complaint that it fears depletion of the $750,000 Operating Deposit and seeks an injunction

 prohibiting Tempus and its affiliates from dispersing such funds, GlobalOne has never moved the

 Court for such relief on a preliminary basis. Therefore, GlobalOne cannot credibly claim that this

 lawsuit is exempt from arbitration because it falls under the "interlocutory relief exception in the

 AMA. Nor can this Court find Defendants' arbitration demand frivolous or illegitimate on such

 grounds.

         For the foregoing reasons, the Court finds that Defendants' assertion that GlobalOne's

 claims in this case are subject to the mandatory arbitration provision of the AMA is not frivolous


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 or illegitimate. Therefore, the Court must refer this matter, including all threshold questions of

 arbitrability, to arbitration in accordance with Section 13.12 of the AMA.

    V.      CONCLUSION


         For the reasons stated above. Defendants' Motion to Compel Arbitration and to Stay

 Proceedings are hereby GRANTED pursuant to Sections 3 and 4 of the Federal Arbitration Act.

 ECF Nos. 31 and 32. Defendants' three motions to dismiss, in part. Plaintiffs complaint, which

 were filed in the alternative to Defendants' Motions to Compel and Stay, are therefore

 DISMISSED WITHOUT PREJUDICE. ECF Nos. 34, 35, 36.

         Accordingly, the parties are hereby DIRECTED to arbitrate this dispute, including all

 threshold issues concerning the arbitrability ofPlaintiffs' claims,in accordance with Section 13.12

 of the Aircraft Management Agreement dated March 1, 2017. This action is hereby STAYED as

 of the date of this Order for a period of SIX (6) MONTHS or until the parties' arbitration is

 completed, whichever is shorter.

         The Clerk is DIRECTED to forward a copy of this Order to all Counsel of Record.

         IT IS SO ORDERED.



                                                              ED STATES DISTRICT JUDGE
 Norfolk, VA
 December 7,2018




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